UNITED STATES DISTRICT COURT On
‘FOR THE EASTERN DISTRICT OF NORTH Canon sence
WESTERN DIVISION

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UNITED STATES OF AMERICA

 

V8.

INDICTMENT

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WILLIAM ROBERT JEFFERY

The Grand Jury charges that:

On or about June 16, 2020, -in the Eastern District of North Carolina,
WILLIAM ROBERT JEFFERY, the defendant herein, did knowingly possess one or -
more matters, that is, computer hard drives and computer media containing digital .
- and computer images, the production of which involved the use of one or more
prepubescent minor or a minor who had not attained 12 years of age, engaging in
sexually explicit conduct, and which images visually depicted. such conduct. The
images had been mailed, shipped and transported in interstate and foreign commerce
and by use of means and facilities of interstate commerce; 1.e:, the Internet, and were
produced using materials which had been mailed, shipped, or transported in
inteistate and foreign commerce, by any means including by computer, all in violation

of Title 18, United States Code, Section 2252A(a)(5)(B). \.

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Case 5:20-cr-00464-D Document 1 Filed 10/15/20 Page 1 of 4

 

 

 
NOTICE OF PRIOR CONVICTION
Deféndant WILLIAM ROBERT JEFFERY has the following prior final

convictions that result in increased potential punishment under Title 18, United
States Code, Section 2252A(b)(2):

On or about September 6, 2000, in the US. District Court for the Eastern
District of North Carolina, WILLIAM ROBERT J. EFFERY was convicted of interstate
travel for purpose of engaging in a sexual act with a juvenile, in violation of 18 US.C.
§ 2423(b), and was sentenced to 24 months’ imprisonment.

On or about February 20, 2000, in Dare County Superior Court, North
Carolina, WILLIAM ROBERT JEFFERY was convicted of indecent liberties with a
child, in violation of N.C.G.S. § 14-202.1, and was sentenced to 19 to 23 months’

umprisonment.

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Case 5:20-cr-00464-D Document1 Filed 10/15/20 Page 2 of 4

 

 
de FORFEITURE NOTICE ©

| The named defendant is hereby given notice that all of the defendant’s interest

imal property specified herein is subject to forfeiture.

Upon conviction of one or more of the offenses set forth above, WILLIAM
ROBERT JEFFERY, the defendant herein, shall forfeit to the United States,
pursuant to Title 18, United States Code; 2253(a):

(1) any visual depiction or book, magazine, periodical, film, videotape, or other
matter which contains any such visual depiction, which was produced, transported,
mailed, shipped, or received in violation of the offense(s);

(2) any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from the offense(s); and

(3) any property, real or personal, used or intended to be used to commit or to
promote the commission of said offense(s) or any property traceable to such property.

The forfeitable property includes, but is not limited to a HGST 1TB 2.5" SATA
hard drive, bearing s/n JRIOOOBDGESJYE, and a Quantum 30GB IDE hard drive
bearing s/n 176001919993.

If any of the above-described forfeitable property, as a result of any act or
omission of the defendant — ES,

(1) cannot be located upon the exercise of due‘ diligence;
(has been transferred or sold to, or deposited with, a third party;
(3) has been placed beyond the jurisdiction of the court;

(4) has been substantially diminished in value; or .

Case 5:20-cr-00464-D Document1 Filed 10/15/20 Page 3 of 4

 

 

 
oe (5) has been commingled with other property which cannot be subdivided
- without difficulty; .

' itis the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), through 18 U.S.C. Sections 2253 or 1467, whichever may be applicable, to

seek forfeiture of any other property of said defendant up to the value of the above

forfeitable property.

A TRUE BILL
REDACTED VERSION
Pursuant to the E-Government Act and the
federal rules, the unredacted version of
this document has been filed under seal.

FOREPEKSUN

Date: o| 4 (20x0

ROBERT J. HIGDON, JR.
United States Attorney

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JAKE D. PUGH ©
Assistant United States Attorney
Criminal Division

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Case 5:20-cr-00464-D Document1 Filed 10/15/20 Page 4 of 4 |

 

 
